           Case 3:25-cv-04870-CRB           Document 72-2        Filed 06/13/25   Page 1 of 2




 1   BRETT A. SHUMATE
     Assistant Attorney General
 2   ERIC J. HAMILTON (CA Bar No. 296283)
     Deputy Assistant Attorney General
 3   ALEXANDER K. HAAS (CA Bar No. 220932)
     Branch Director
 4   CHRISTOPHER EDELMAN (DC Bar No. 1033486)
     Senior Counsel
 5   GARRY D. HARTLIEB (IL Bar No. 6322571)
     BENJAMIN S. KURLAND (DC Bar No. 1617521
 6   Trial Attorneys
     U.S. Department of Justice
 7   Civil Division, Federal Programs Branch
     1100 L Street, NW
 8   Washington, DC 20005
     Telephone: (202) 353-8659
 9   christopher.edelman@usdoj.gov
     Attorneys for Defendants
10
                            IN THE UNITED STATES DISTRICT COURT
11                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
12

13   GAVIN NEWSOM, in his official capacity as            Case No. 3:25-cv-04870-CRB
     Governor of the State of California, et al.,
14
                                          Plaintiffs,     [Proposed] ORDER TO CONTINUE
15                                                        PRELIMINARY INJUNCTION BRIEFING
                     v.                                   SCHEDULE
16
     DONALD J. TRUMP, in his official capacity as
17   President of the United States of America, et al.,
18                                       Defendants.
19

20

21          Before the Court is Defendants’ Administrative Motion to Continue Preliminary
22   Injunction Briefing Schedule. ECF No. 72. After reviewing the Motion and Plaintiff’s
23   opposition, it is hereby ordered:
24          The Court’s deadlines regarding the Order to Show Cause why a Preliminary Injunction
25   should not Issue, ECF No. 64 at 36, are hereby continued pending the Ninth Circuit’s decision on
26   Defendants’ Emergency Motion Under Circuit Rule 27-3 for Stay Pending Appeal. The Parties
27

28


                      [Proposed] ORDER TO CONTINUE PRELIMINARY INJUNCTION BRIEFING SCHEDULE
           Case 3:25-cv-04870-CRB           Document 72-2        Filed 06/13/25     Page 2 of 2




 1   shall submit a joint status report with a proposed briefing schedule no later than one business day
 2   after the Ninth Circuit has resolved Defendants’ Emergency Motion.
 3            SO ORDERED.
 4
     Dated:                                                       ___________________________
 5                                                                HON. CHARLES R. BREYER
                                                                  United States District Judge
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                      [Proposed] ORDER TO CONTINUE PRELIMINARY INJUNCTION BRIEFING SCHEDULE
